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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

  GARLAND CREEDLE,

        Plaintiff,

  v.
                                                      Case No.:
  CARLOS A. GIMENEZ, in his official
  capacity as Mayor of Miami-Dade County,
  Florida; and MIAMI-DADE COUNTY,                    JURY TRIAL DEMANDED
  Florida,

       Defendants.
                                              /

                               COMPLAINT FOR DAMAGES AND
                                  DECLARATORY RELIEF

         Plaintiff Garland Creedle sues Defendants Carlos A. Gimenez and Miami-Dade County,

  Florida, and states the following:

                                        INTRODUCTION

         1.      Miami-Dade County unlawfully arrested and detained Plaintiff Garland Creedle

  solely for civil immigration purposes, even though Mr. Creedle is a U.S. citizen who cannot be

  deported. The County voluntarily detained Mr. Creedle at the request of federal immigration

  authorities of Immigration and Customs Enforcement (ICE). The detention occurred pursuant to

  a directive from Mayor Carlos A. Gimenez that requires the Miami-Dade Corrections and

  Rehabilitation Department (MDCR) to deny release for 48 hours or more to any person who is

  the subject of a check-the-box immigration detainer request. See Exhibit A, Attached.

         2.      Mayor Carlos A. Gimenez issued the immigration detainer directive on January

  26, 2017. The directive reversed over three years of prior policy, under which Miami-Dade Co.
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  declined to use millions of taxpayer dollars to underwrite the federal government’s immigration

  enforcement agenda.

         3.        Defendants’ policy of acceding to immigration detainer requests runs contrary to

  hundreds of other cities and counties across the country that have reaffirmed their commitment to

  limit their unnecessary and unlawful involvement in federal immigration enforcement. The

  detention policy causes the County routinely to violate the Fourth and Fourteenth Amendments

  to the U.S. Constitution as well as Florida law.

         4.        Plaintiff requests a declaratory judgment that the Mayor’s directive unlawfully

  violates the prohibition against unlawful seizures under the Fourth Amendment to the U.S.

  Constitution, Plaintiff’s substantive due process rights under the Fourteenth Amendment of the

  U.S. Constitution, and Florida law. Plaintiff also requests monetary damages pursuant to 42

  U.S.C. § 1983.

                                   JURISDICTION AND VENUE

         5.        This Court has jurisdiction over this matter under 28 U.S.C. §§ 1331, 1343, 1367,

  2201-02, and Article III of the U.S. Constitution. Venue is proper in the Southern District of

  Florida under 28 U.S.C. § 1391(b)(2).

                                              PARTIES

                                               Plaintiff

         6.        Plaintiff Garland Creedle was born in Honduras. He is 18 years old. Mr. Creedle

  is a U.S. citizen and has been since birth by virtue of the U.S. citizenship held by his father,

  Willie Edward Creedle.




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                                              Defendants

         7.      Defendant Carlos A. Gimenez is the Mayor of Miami-Dade County, Florida.

  Mayor Gimenez is responsible for issuing the January 26, 2017 directive to MDCR that it detain

  any individual in its custody beyond the time they would otherwise be entitled to release solely

  on the basis of a request by ICE. Defendant Gimenez is sued in his official capacity.

         8.      Defendant Miami-Dade County is a political subdivision of the State of Florida

  that can be sued in its own name. Miami-Dade County is responsible for the acts of MDCR, an

  administrative department of Miami-Dade County.

         9.      Defendant Miami-Dade County and its agent Mayor Carlos Gimenez are sued in

  their official capacities and are “persons” liable for monetary damages pursuant to 42 U.S.C. §

  1983. See Monell v. Department of Social Services of City of New York, 436 U.S. 658 (1978).

                                     STATEMENT OF FACTS

                                 “Immigration Detainer” Requests

         10.     When a person is arrested and taken to a Miami-Dade County jail, department of

  corrections officials take their fingerprints. These fingerprints are sent to the Federal Bureau of

  Investigation and the Department of Homeland Security.

         11.     The fingerprint background check reveals any outstanding judicial warrants,

  which appear on the booking officer’s computer screen. A county correctional official transfers

  this information to the inmate’s “jail card.”

         12.     The fingerprint background check may also trigger a detainer request from federal

  immigration authorities at ICE to hold a person beyond the point that the person’s criminal

  custody has come to an end.




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          13.    A detainer request is not a judicial warrant but a request issued by an ICE

  enforcement official.

          14.    An immigration detainer request is a boilerplate, checkbox form issued by a rank-

  and-file federal immigration officer for a civil immigration purpose.

          15.    Once Miami-Dade correctional officials are alerted of a detainer request made by

  ICE, they mark the detained person’s jail card with the phrase “immigration hold” or

  “immigration detainer.”

          16.    MDCR officers announce in open court when people have immigration holds on

  them.

          17.    From the moment that a person’s jail card is marked to indicate an immigration

  detainer MDCR treats the detained person as if he or she is not eligible for release.

          18.    The practice of treating everyone with an immigration detainer as not eligible for

  release has immediate and dire effects.

          19.    People with immigration detainers cannot pay the standard bond amount to get

  out of the jail the same day that they are arrested.

          20.    Any inmate with an immigration detainer becomes ineligible for house arrest or a

  diversion program.

          21.    When detained persons or their family and friends ask about a detained person’s

  eligibility for bond or try to post bond, MDCR officers announce that the detained person will

  not be released because of the detainer.

          22.    As a result of the immigration detainers, some bond companies will not post

  bond.




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         23.     Detainers are a creature of Department of Homeland Security (DHS) agency

  regulation. See 8 C.F.R. § 287.7(b) (authorizing all “deportation officers” and “immigration

  enforcement agents,” among others, to issue detainers). A detainer requests a local law

  enforcement agency (LEA) to arrest and detain an individual in the LEA’s custody after the

  person is entitled to release for potential action by federal immigration authorities.

         24.     Under the immigration detainer, MDCR officials prolong the detention of the

  person after he or she is entitled to release for potential action by federal immigration authorities.

         25.     A detainer is not supported by a warrant or any other probable cause

  determination by a detached and neutral judicial officer. Nor is it supported by a sworn,

  particularized showing of probable cause that the subject is a noncitizen and removable under

  federal immigration law.

         26.     A detainer is a fill-in-the-blank form with check boxes for a generic list of

  potential sources of information that do not form the basis for a particularized probable cause

  determination that the detainer subject committed a civil immigration violation, including

  “biometric confirmation of the subject’s identity and a records check of federal databases that

  affirmatively indicate, by themselves or in addition to other reliable information, that the subject

  either lacks immigration status or notwithstanding such status is removable under U.S.

  immigration law.”

         27.     The form used by immigration authorities to lodge a detainer is called a

  “Department of Homeland Security (DHS) Request for Voluntary Transfer.”

         28.     Detainer requests are not supported by probable cause in the form of a sworn

  statement of specific facts relating to the subject of the detainer.




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            29.    The detainer request form contains no determination that there is a reason to

  believe that the subject individual is “likely to escape before a warrant can be obtained,” as is

  required when federal authorities make a warrantless civil immigration arrest under federal law.

  8 U.S.C. § 1357(a)(2).


                  The 2013 County Resolution Limiting Miami-Dade’s Participation
                     in the Federal Government’s Immigration Detainer Regime

            30.    ICE detainers are merely requests for detention – they do not purport to require

  localities like Miami-Dade to do anything. See Galarza v. Szalczyk, 745 F.3d 634, 645 (3d Cir.

  2014) (detainer regulation “authoriz[es] only permissive requests” for detention); Morales v.

  Chadbourne, 996 F. Supp. 2d 19, 40 (D.R.I. 2014); aff’d in part, 793 F.3d 208 (1st Cir. 2015);

  Miranda-Olivares v. v. Clackamas County, 2014 WL 1414305, *4-8 (D. Or. Apr. 11, 2014).

            31.    In December 2013, Miami-Dade’s Board of County Commissioners enacted a

  resolution which directed the Mayor to limit the County’s authority to hold individuals pursuant

  to immigration detainer requests. See Miami-Dade Cty. Bd. of Comm’rs, Resolution 1008-13

  (Dec.                    3,                 2013),                  available                  at

  http://www.miamidade.gov/govaction/legistarfiles/Matters/Y2013/132196.pdf.         Under     this

  policy:

            Miami-Dade Corrections and Rehabilitation Department may, in its discretion,
            honor detainer requests issued by United States Immigration and Customs
            Enforcement only if the federal government agrees in writing to reimburse
            Miami-Dade County for any and all costs relating to compliance with [ICE]
            detainer requests and the inmate that is the subject of such a request has a
            previous conviction for a Forcible Felony, as defined in Florida Statute section
            776.08, or the inmate that is the subject of such request has, at the time the
            Miami-Dade Corrections and Rehabilitation Department receives the detainer
            request, a pending charge of a non-bondable offense, as provided by Article I,
            Section 14 of the Florida Constitution, regardless of whether bond is eventually
            granted.




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  Id. at 5. The policy thus imposed two conditions that must be satisfied before the County may

  detain an individual pursuant to an ICE detainer. As a threshold matter, the County would not

  participate in any immigration detention unless the federal government agreed to reimburse the

  County for all associated costs in writing. And if the federal government agreed to

  reimbursement, the County would detain only individuals who have been charged or convicted

  of certain enumerated offenses.

          32.     The Resolution became effective on December 13, 2013 – ten days after its

  adoption. Id. at 6. See Miami-Dade Home Rule Charter § 2.02(D) (providing the Mayor a 10-day

  veto period over “any legislative [ . . . ] decision of the Commission”). Because the federal

  government declined to reimburse the County for any expenses associated with detainers, the

  MDCR – the department responsible for the County’s jails – stopped holding individuals

  pursuant to ICE detainer requests in January 2014.

          33.     The Board of County Commissioners ratified its position when, just over a year

  ago, it unanimously resolved to oppose statewide legislation that would preempt its anti-detainer

  policy. See Miami-Dade Cty. Bd. of Comm’rs, Resolution 77-16 (Jan. 20, 2016), available at

  http://www.miamidade.gov/govaction/legistarfiles/MinMatters/Y2015/153028min.pdf.             The

  resolution recognized that since the County Commission adopted the County’s detainer policy in

  2013, “the taxpayers of Miami-Dade County have saved hundreds of thousands of dollars in

  costs that are unreimbursed by the federal government associated with honoring immigration

  detainer requests.” Id. at 4.

          34.     The Board’s 2013 resolution also recognized that federal courts across the United

  States “have found that local law enforcement agencies that detain individuals on the sole

  authority of a detainer request violate the Fourth Amendment of the U.S. Constitution, exposing




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  such agencies to legal liability unless there has been an independent finding of probable cause to

  justify detention.” Id. The Board noted that “a judge is not required to review or approve an

  immigration detainer,” and that a detainer “may be issued by a single Immigration[] and

  Customs Enforcement officer when there are no immigration proceedings pending.” Id. at 6. This

  process, the Board recognized, “does not meet the U.S. Constitution’s minimum standard for

  authorizing detention after an inmate is scheduled to be released.” Id. The Board thus opposed

  “legislation that would preempt policies set by th[e] Board related to immigration detainer

  requests.” Id. at 8.

          35.     For more than three years, MDCR dutifully followed the detainer policy enacted

  by the Board of County Commissioners.

                                 Mayor Gimenez’s 2017 Directive

          36.     On January 26, 2017, the Mayor sent a memorandum to MDCR’s Interim

  Director, Daniel Junior, directing Mr. Junior and his staff “to honor all immigration detainer

  requests[.]” See Exhibit A, Attached. The directive was not preceded by any public notice or

  opportunity for debate, nor did it make any mention of the Board of County Commissioners’

  resolution to limit MDCR’s authority to hold people pursuant to detainer requests.

          37.     On February 17, 2017, the Board of County Commissioners amended its 2013

  Resolution (1008-13) to direct the Mayor “to ensure that, related to immigration detainer

  requests, Miami-Dade County … is cooperating with the federal government to the extent

  permissible by law.” Miami-Dade Cty. Bd. of Comm’rs, Resolution 163-17 (Feb. 17, 2017),

  http://www.miamidade.gov/govaction/matter.asp?matter=170440&file=false&yearFolder=Y201

  7.




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         38.     MDCR is following Mayor Gimenez’s directive and, since January 26, 2017, has

  maintained a practice of holding individuals in its custody beyond the time they would otherwise

  be released on the sole basis that the person is the subject of an immigration detainer request.

                       MDCR’s Unlawful Arrest and Detention of Plaintiff

         39.     Plaintiff Garland Creedle, who was born in Honduras, has been a U.S. citizen

  since the moment of his birth by virtue of his father’s U.S. citizenship. He is 18 years old.

         40.     Mr. Creedle came to the United States from Honduras in 2015.

         41.     Immigration enforcement officials arrested him and put him in administrative

  removal proceedings before an immigration judge.

         42.     On April 28, 2015, immigration officials with the Department of Homeland

  Security filed a motion with the immigration judge stating that the proceedings should be

  terminated on the grounds that Mr. Creedle is a U.S. citizen. See Exhibit B, Attached.

         43.     In the motion, the Department stated that Mr. Creedle had submitted

  documentation showing that he had acquired citizenship through his father, Willie Edward

  Creedle, and that termination was warranted because Mr. Creedle is a U.S. citizen. Id.

         44.     On April 30, 2015, an immigration judge granted the federal government’s

  motion and terminated proceedings against Mr. Creedle. See Exhibit C, Attached.

         45.     On the evening of March 12, 2017, Mr. Creedle was arrested after an alleged

  domestic dispute and taken to Miami-Dade County jail, where he was held on bond.

         46.     Mr. Creedle was never charged in court with the offense for which the police

  arrested him. The State of Florida issued a “No Action” in his case.

         47.     On the evening that police arrested Mr. Creedle, county correctional officials

  fingerprinted him.




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          48.     Early the next morning, on March 13, 2017, MDCR received an immigration

   detainer request from ICE Deportation Officer Alexander Martinez on a Request for Voluntary

   Transfer from from ICE naming Mr. Creedle as its subject. See Exhibit D, Attached.

          49.     Mr. Creedle told county correctional officials that he is a U.S. citizen.

          50.     Alexander Martinez is an immigration enforcement officer, not a neutral and

   detached adjudicator.

          51.     The Request for Voluntary Transfer form contained the bare assertion by

   Alexander Martinez that Mr. Creedle was “a removable alien” under civil immigration law.

          52.     The box checked on the form stated that this determination was based on a

   “biometric confirmation of the subject’s identity and a records check of federal databases that

   affirmatively indicate, by themselves or in adition to other reliable information, that the subject

   either lacks immigration status or nothwithstanding such status is removable under U.S.

   immigration law.” The form contained no additional information concerning this supposed

   “biometric confirmation” or “records check” of Mr. Creedle.

          53.     The form requested MDCR to detain Mr. Creedle an additional 48 hours,

   excluding holidays and weekends, beyond the time he would otherwise be entitled to release.

          54.     The detainer did not allege probable cause to believe that Mr. Creedle had

   committed any crime. Nor did the detainer form state facts amounting to an individualized

   determination that there was probable cause to believe that Mr. Creedle was removable from the

   United States, or that there was reason to believe that Mr. Creedle posed a risk of flight. The

   detainer listing Mr. Creedle as a subject was not supported by a warrant or any other probable

   cause determination by a detached and neutral judicial officer. Nor did it include any

   individualized assessment of Mr. Creedle’s risk of flight.




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          55.     On March 13, 2017, during normal business hours, Mr. Creedle sought to be

   released from MDCR and posted bond. See Exhibit E, Attached.

          56.     Mr. Creedle was entitled to be released immediately upon posting of the bond.

          57.     Rather than release Mr. Creedle after the bond was posted, MDCR maintained

   custody over him for transfer to ICE.

          58.     Mr. Creedle spent the night of March 13, 2017 in jail in the custody of MDCR.

          59.     Based on nothing more than the purported authority of the immigration detainer,

   MDCR detained Mr. Creedle beyond the time he was entitled to release solely because ICE

   issued a detainer request.

          60.     On March 14, 2017, ICE officials interviewed Mr. Creedle in jail and withdrew

   the detainer request.

          61.     After ICE withdrew the detainer request, Mr. Creedle was released on bond.

                                         CAUSES OF ACTION

                                            COUNT I
                                  Fourth Amendment Violation
                                        (42 U.S.C. § 1983)
                                Damages and Declaratory Judgment

          62.     Plaintiff incorporates paragraphs 1 to 61 as if fully stated herein.

          63.     Defendants detained Mr. Creedle by continuing to hold him after the legal

   grounds for his custody expired, solely because Defendants had received an immigration detainer

   requesting his continued detention.

          64.     Defendants detained Mr. Creedle pursuant to an official directive issued by

   Defendant Mayor Gimenez on January 26, 2017, which requires MDCR to “honor all

   immigration detainer requests.” Ever since Mayor Gimenez issued his order, MDCR has engaged

   in a practice of detaining all individuals subject to an immigration detainer beyond the time they



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   would otherwise be entitled to release. Mr. Creedle’s detention was therefore made under color

   of law.

             65.   As a consequence of Defendants’ actions, Mr. Creedle suffered violations of the

   Fourth Amendment to the U.S. Constitution, which prohibits “unreasonable searches and

   seizures” and provides that “no Warrants shall issue, but upon probable cause, supported by Oath

   or affirmation, and particularly describing the place to be searched, and the persons or things to

   be seized.” Pursuant to the incorporation doctrine, the due process clause of the Fourteenth

   Amendment makes the Fourth Amendment applicable to local governments. See, e.g., Mapp v.

   Ohio, 367 U.S. 643 (1961) (freedom from unreasonable search and seizure); Aguilar v. Texas,

   378 U.S. 108 (1964) (warrant requirement).

             66.   As a proximate and reasonably foreseeable result of Defendants’ actions, Mr.

   Creedle suffered injuries, including financial, pain and suffering, humiliation, and emotional

   harm.

                                               COUNT II
                                  Violation of Fourteenth Amendment
                                           (42 U.S.C. § 1983)
                                    Damages and Declaratory Relief

             67.   Plaintiff incorporates paragraphs 1 to 61 as if fully stated herein.

             68.   Defendants falsely imprisoned Mr. Creedle by violating the due process clause of

   the Fourteenth Amendment to the U.S. Constitution and committing the common law tort of

   false imprisonment. See Campbell v. Johnson, 586 F.3d 835, 840 (11th Cir. 2009).

             69.   Pursuant to its policy of honoring ICE detainers, Defendants held Mr. Creedle

   after he was no longer in lawful custody on state criminal charges. The Fourteenth Amendment

   Due Process Clause includes the “right to be free from continued detention after it was or should

   have been known that the detainee was entitled to release.” Id. at 840 (citing Cannon v. Macon



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   County, 1 F.3d 1558, 1563 (11th Cir.1993), modified on other grounds, 15 F.3d 1022 (1994)).

   Defendants intended to confine Mr. Creedle and detained him with deliberate indifference to his

   false imprisonment. Defendants were aware of a risk of serious harm and disregarded that risk by

   actions beyond mere negligence. Mr. Creedle was aware of his confinement. As alleged in Count

   III and incorporated herein, Defendants were not empowered under Florida law or any other

   authority to detain Mr. Creedle based on a civil immigration violation.

          70.     As a proximate and reasonably foreseeable result of Defendants’ actions, Plaintiff

   suffered injuries, including pain and suffering, humiliation, and emotional harm.


                                            COUNT III
                                   Florida Unlawful Imprisonment
                                   Damages and Declaratory Relief

          71.     Plaintiff incorporates paragraphs 1 to 61 as if fully stated herein.

          72.     Defendants detained Mr. Creedle without any authority, in violation of Florida

   law, thereby unlawfully imprisoning him. Defendants lacked a warrant to detain him and had no

   authority to make a warrantless arrest. See § 901.15, Fla. Stat.

          73.     Defendants unlawfully detained Mr. Creedle against his will and without legal

   authority or “color of authority,” which was unreasonable and unwarranted under the

   circumstances. See Mathis v. Coats, 24 So.3d 1284 (Fla. 2d DCA 2010); City of Hialeah v.

   Rehm, 455 So.2d 458 (Fla. 3d DCA 1984).

          74.     MDCR employees are not law enforcement officers authorized to arrest without a

   warrant. See Pierre v. City of Miramar, Florida, Inc., 537 Fed. Appx. 821, 824-25 (11th Cir.

   2013) (holding that a county correctional officer is not a “law enforcement officer” for purposes

   of section 901.15(1)).




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           75.    Mr. Creedle’s detention was made pursuant to the order issued by Defendant

   Mayor Gimenez on January 26, 2017, which required MDCR to “honor all immigration detainer

   requests.”

           76.    Since Mayor Gimenez issued his order, MDCR has detained individuals subject to

   an immigration detainer beyond the time they would otherwise be entitled to release.

           77.    As a proximate and reasonably foreseeable result of Defendants’ actions, Mr.

   Creedle suffered injuries, including financial, pain and suffering, humiliation, and emotional

   harm.

           78.    Pursuant to Fla. Stat. § 768.28(6), Mr. Creedle has provided the requisite

   administrative notice of his unlawful imprisonment claim.

                                       RELIEF REQUESTED

           WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in his favor

   and:

           a.     Declare Mayor Gimenez’s January 26, 2017 directive on immigration detainers

   invalid;

           b.     Declare that Defendants’ detention of Mr. Creedle pursuant to ICE’s immigration

   detainer violated his Fourth Amendment right to be free from unreasonable seizure, violated his

   substantive due process right under the Fourteenth Amendment to be free from false

   imprisonment, and constituted unlawful imprisonment under Florida law;

           c.     Award Mr. Creedle compensatory damages;

           d.     Award Mr. Creedle reasonable attorneys’ fees and costs pursuant to 42 U.S.C. §

                  1988; and

           e.     Grant any other equitable relief this Court may deem just and proper.




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                                        Respectfully submitted,

                                        By: /s/ Rebecca Sharpless

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                                        Attorneys for Plaintiff




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